                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 Food Lion, LLC, and Maryland and Virginia
 Milk Producers Cooperative Association,
 Inc.,

                      Plaintiffs,                          Case No. 1:20-cv-00442
v.

Dairy Farmers of America, Inc.,

                      Defendant.


                      JOINT MOTION FOR ENTRY OF
           STIPULATED DISCOVERY AND BRIEFING SCHEDULE AND
             STIPULATED NOTICE OF MATERIAL CHANGE ORDER

      NOW COME the Parties in this matter, pursuant to the Court’s Order of June 10,

2020 [ECF No. 28] providing for Expedited Discovery, as extended by the Court’s Order

of June 23, 2020 [ECF No. 35], and in follow-up to the Parties’ June 29, 2020 Joint

Submission on Discovery Scheduling [ECF No. 37], and pursuant to Fed. R. Civ. P. 7 and

Local Rule 7.3, to move the Court for entry of a (i) Stipulated Discovery and Briefing

Schedule and (ii) Stipulated Notice of Material Change Order. In support of this Motion,

the Parties show the Court as follows:

      1.     As suggested by the Court in its prior order, the Parties have reached an

agreement to consolidate the pending motion for preliminary injunction with a bench trial

on the merits pursuant to Rule 65(a)(2), and have negotiated a Stipulated Discovery and




      Case 1:20-cv-00442-CCE-JLW Document 38 Filed 07/01/20 Page 1 of 3
Briefing Schedule to that effect. A copy of the Stipulated Discovery and Briefing Schedule

is attached as Exhibit A.

       2.     The Stipulated Discovery and Briefing Schedule is conditioned upon a

separate Stipulated Notice of Material Change Order, attached as Exhibit B, that allows

the Court to monitor changes to the status quo pending trial and permits DFA to continue

to operate the Carolinas Plants in the ordinary course of business.

       3.     The Parties submit that good cause exists to enter both the Stipulated

Discovery and Briefing Schedule and the Stipulated Notice of Material Change Order, as

the orders will help facilitate the orderly and efficient management of this case.

       WHEREFORE, the Parties respectfully request that the Court enter the Stipulated

Discovery and Briefing Schedule and Stipulated Notice of Material Change Order.

       Respectfully submitted this 1st day of July 2020.

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      Case 1:20-cv-00442-CCE-JLW Document 38 Filed 07/01/20 Page 2 of 3
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                                           3



    Case 1:20-cv-00442-CCE-JLW Document 38 Filed 07/01/20 Page 3 of 3
